Filed 12/03/19                          Case 19-21640                               Doc 187



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Debora Leigh Miller-   Case No.: 19-21640 - B - 7
            Zuranich
                                               Docket Control No. DTK-2
                                               Date: 12/03/2019
                                               Time: 9:30 AM

            Matter: [172] - Motion for Relief from Automatic Stay [DTK-2] Filed
            by Creditor Hall Mortgage Fund, LP (Fee Paid $0.00) (eFilingID:
            6608681) (vcaf)

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            None
            Respondent(s):
            Debtor's Attorney - Peter L. Cianchetta
            _____________________________________________________________________
                                        CIVIL MINUTES


           Motion Granted, Resolved without Oral Argument
           Findings of fact and conclusions of law stated orally on the record


                 ORDER TO BE PREPARED BY: Dean Kirby
